           Case 2:11-cr-00414-APG-CWH        Document 36            Filed 12/15/11   Page 1 of 2



 l SU BT
  GARRETT T.OGATA ESQ.
2 xevadastateBarxo 71169
     LAw oFncEsoyèARRETT T.OeATA
3 3841 W .Charleston Blvd.,Suite 205
  LasV egas,N evada 89102
     (702)366-0891
     A ttorney forD efendant
5
                               UN IT ED STA TES DISTRIC T CO UR T
                                     DISTR IC T O F N EVA D A
     UNITED STATESOFAMERICA,                   )              CASE NO.xxxxxxxxxxxxx
                                                                      2:11-mj-747-CW H
8                                              )                       2:11-cr-414-PMP-RJJ
                          PLAINTIFF,           )
     vs.                                       )
                                               )
     JAVIER PICHARDO-LOPEZ,                    )
                                               )
11                        DEFENDANT.           )
12
                                SU BSTIT UTIO N O F A TTO RN EY S
13
             GARRETT T.OGATA,ESQ.,isherebysubstitutedasattorneyfortheDefendants
     JAVIER PICHARDO-LOPEZ,in theabove-entitled action,in place and instead ofM ACE J.
15
     YAM POLSKY,ESQ.
                   DATEDthisj# dayofDecember,2011.
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                                                   v',
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                                                      ,              .                z'
                                               M A CE J.Y A M P SK
                                               N evada State Bar o.1
21                                             625 South Sixth S eet
22                                             Las Vegas,N V 89101

23           Ihereby consenttotheabove and foregoing substitution.

                   DATEDthisj*dayofDecember,2011.
25
                                                              K          /
                                                      IER PIC A R DO -LO PEZ
28                                                 efendant

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         Case 2:11-cr-00414-APG-CWH        Document 36       Filed 12/15/11   Page 2 of 2



 1         Iherebyaccepttheaboveandforegoing substitution asattorney forthe Defendant,
2
     JA V IE R PIC H A RD O -LO PEZ.
3
                  DA TED tlus Ji#B day ot-o ecem ber,2c11.

5                                            LA W OFFICES          G ARRETT T.O GA TA
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                                                                   q


                                             By:
                                                GA      TT T.OGATA,ESQ.
                                                N evada BarN o.7469
                                                3841W .Charleston Blvd.,Suite205
                                                LasV egas,N evada 89102
                                                Attom ey forD efendant
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                                              IT IS SO ORDERED.
13                                            _______________________________
                                              UNITED STATES MAGISTRATE JUDGE
                                              DATE: DEC. 15, 2011
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